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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            Case No. 21-cv-20777-BLOOM/Otazo-Reyes

 VICTOR ARIZA,

         Plaintiff,

 v.

 SOY GAROTA, INC., a foreign
 for-profit corporation,

       Defendant.
 ________________________________/

                          ORDER ADMINISTRATIVELY CLOSING CASE

         THIS CAUSE is before the Court upon Plaintiff’s Notice of Settlement, ECF No. [17],

 filed on May 13, 2021, that indicates that the parties have reached a settlement of the claims

 asserted in this case.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

           1. The above-styled action is administratively CLOSED without prejudice to the parties

               to file a settlement agreement for the Court’s consideration and/or appropriate

               dismissal documentation.

           2. The Clerk of Court shall CLOSE this case for administrative purposes only.

           3. To the extent not otherwise disposed of, any scheduled hearings are CANCELED,

               all pending motions are DENIED as moot, and all deadlines are TERMINATED.
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                                             Case No. 21-cv-20777-BLOOM/Otazo-Reyes


        DONE AND ORDERED in Chambers at Miami, Florida, on May 13, 2021.




                                                _________________________________
                                                BETH BLOOM
                                                UNITED STATES DISTRICT JUDGE
 Copies to:

 Counsel of Record




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